         Case 24-03073-sgj                    Doc 42           Filed 02/18/25 Entered 02/18/25 09:59:47                                 Desc Main
                                                               Document      Page 1 of 1
BTXN 191 (rev. 12/24)




                                                    AUDIO / TRANSCRIPT ORDER
     1. ORDER REQUEST:                                                              2. DATE OF ORDER:
     ( ) AUDIO                                      (    ) TRANSCRIPT
                                                    X                                                     2/18/25
     3. NAME:                                                                       4. PHONE NUMBER:                     5. EMAIL ADDRESS:

                Ian B. Salzer                                                           214-237-4315                     isalzer@pmmlaw.com
     6. MAILING ADDRESS:                                                            7. CITY:                             8. STATE:        9. ZIP CODE:

         1700 Pacific Ave., #4400                                                   Dallas                                 TX                75201
     10. CASE NUMBER:                         11. CASE NAME:                        12. JUDICIAL OFFICIAL:                 13. DATE OF PROCEEDING:
                                              Charitable DAF v.
       24-03073-sgj                           Alvarez & Marsal                      Hon. Stacey G. C. Jernigan            FROM:      02 / 10 / 2025


     14. ORDER:                            ORDINARY                        7 DAY EXPEDITED                  DAILY                      HOURLY


                            A.                (      )                          (   )                       (      )                    (X   )

                                                                       14 DAY EXPEDITED                          3 DAY EXPEDITED


                                                                                (   )


     15. AUDIO/TRANSCRIPT REQUESTED Specify portion(s) and date(s) of proceeding(s):

                                  PORTION(S)

     X     Entire Hearing
           Court Ruling
           Witness Testimony
           Other: (Specify)




                             CERTIFICATION                                          16. SIGNATURE:
                                                                                                      /s/ Ian B. Salzer
     By signing 16. & 17, I certify that I will pay all charges (deposit
                                                                                    17. DATE:
     plus additional as specified by the assigned transcriber).
                                                                                                February 18, 2025
